






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS


DON T. TRYON,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-10-00099-CR



Appeal from the


371st District Court


of Tarrant County, Texas


(TC# 0952170D)


MEMORANDUM OPINION


	Appellant, Don Tryon, was indicted for the second-degree felony offense of possession of
a controlled substance (cocaine) in an amount of four grams or more but less than 200 grams.  See
Tex. Health &amp; Safety Code Ann. § 481.115(d) (Vernon 2010).  Pursuant to a plea-bargain with
the State, Appellant pled guilty, and the trial court deferred a finding of guilt, placing Appellant on
deferred adjudication for four years.  Subsequently, the State moved to proceed to adjudication,
alleging Appellant violated multiple conditions of his supervision.  Appellant pled true to those
violations, and the trial court revoked his deferred adjudication, adjudicated him guilty, and
sentenced him to ten years' imprisonment.  Appellant then filed a notice of appeal.

	Appellant's court-appointed counsel has filed a brief in which he has concluded that the
appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct. 2094,
18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of the record demonstrating why,
in effect, there are no arguable grounds for reversal.  See High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d
553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  A copy of
counsel's brief has been delivered to Appellant, and Appellant has been advised of his right to
examine the appellate record and file a pro se brief.  However, no pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal is wholly
frivolous and without merit.  Appellate review of an order revoking deferred adjudication is limited
to simply whether the trial court abused its discretion by finding, based on a
preponderance-of-the-evidence standard, that Appellant violated a term or condition of his deferred
adjudication.  See Tex. Code Crim. Proc. Ann. art. 42.12, § 5(b) (Vernon Supp. 2010); Rickels v.
State, 202 S.W.3d 759, 763 (Tex. Crim. App. 2006).  A plea of true, standing alone, is sufficient to
support the revocation of community supervision.  Cole v. State, 578 S.W.2d 127, 128 (Tex. Crim.
App. [Panel Op.] 1979).  Here, Appellant knowingly and voluntarily pled true to each condition that
the State alleged was violated.  Therefore, Appellant's pleas of true are sufficient to support each of
the grounds for the trial court's revocation.  Moses v. State, 590 S.W.2d 469, 470 (Tex. Crim. App.
1979).  Further, the punishment assessed was within the range prescribed by law. See Tex. Health
&amp; Safety Code Ann. § 481.115(d); Tex. Penal Code Ann. § 12.33 (Vernon 2003).  Thus, we find
nothing in the record that might arguably support the appeal.

	Accordingly, we affirm the trial court's judgment.


						GUADALUPE RIVERA, Justice

January 26, 2011


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


